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                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF TEXAS
                           DALLAS DIVISION

RANDY ETHAN HALPRIN,                     §
            Petitioner,                  §
                                         §
v.                                       §    Civ. Act. Nos. 3:13-CV-1535-L
                                         §                   3:19-cv-1203
LORIE DAVIS, Director,                   §         *Death Penalty Case*
Texas Department of Criminal             §
Justice Correctional Institutions,       §
Division,                                §
                  Respondent .           §

     RESPONDENT’S OPPOSITION TO PETITIONER’S MOTION TO
              STAY AND ABATE PROCEEDINGS

       Petitioner Randy Halprin was properly convicted and sentenced to die

for the murder of Irving Police Officer Aubrey Hawkins. Halprin filed his

federal habeas petition in 2014. Docket Entry (DE) 15. This Court denied the

petition in 2017. DE 49, 50. The Fifth Circuit denied Halprin’s application for

a certificate of appealability (COA). Halprin v. Davis, 911 F.3d 247, 260 (5th

Cir. 2018). Halprin’s petition for a writ of certiorari is due to be filed with the

Supreme Court by June 12, 2019. Halprin v. Davis, No. 18A1032. Halprin has

now filed a successive habeas petition challenging his presumptively valid

conviction and sentence pursuant to 28 U.S.C. § 2241 & 2254. DE 58. Halprin’s

successive petition raises one claim alleging judicial bias. DE 58 at 21–38.

       As discussed in the Director’s Motion to Dismiss, Halprin’s petition is

undoubtedly successive because the petition challenges the same state court
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judgment he has unsuccessfully challenged in this Court, and his claim does

not fall within an exception under 28 U.S.C. § 2244(b)(2). Halprin has also filed

a motion seeking a stay of this Court’s proceedings to await the Supreme

Court’s adjudication of his petition for a writ of certiorari and to permit him

the opportunity to raise his judicial bias claim in state court. DE 62. For the

reasons discussed in the Director’s Motion to Dismiss and, as discussed below,

the Director opposes Halprin’s motion for a stay of this Court’s proceedings.

                                  ARGUMENT

I.      The Standard Governing Stay Decisions

        A “stay and abeyance should be available only in limited circumstances.”

Rhines v. Weber, 544 U.S. 269, 277 (2005) (emphasis added). Those “limited

circumstances” exist when an inmate can prove (1) good cause for the failure

to exhaust, (2) that the claim is not plainly meritless, and (3) that the request

is not for purposes of delay. Id. at 277–78. A court should review such requests

with caution because a stay and abeyance has the potential to “frustrate

AEDPA’s goal of finality by dragging out indefinitely . . . federal habeas

review.” Id. at 277.

II.     Halprin Fails to Prove Good Cause for a Stay Because This Court
        Lacks Jurisdiction.

        As discussed at length in the Director’s Motion to Dismiss, this Court is

without jurisdiction to consider Halprin’s successive petition. This Court



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denied Halprin’s initial federal habeas petition in 2017, and the Fifth Circuit

denied his application for a certificate of appealability—and mandate issued—

more than six months ago. This Court is, consequently, also without

jurisdiction to enter a stay. See Howard v. Dretke, 157 F. App’x 667, 672–73

(5th Cir. 2005); Teague v. Johnson, 151 F.3d 291 (5th Cir. 1998) (noting that,

where the mandate has issued and the petitioner is seeking a stay pending the

disposition of a writ of certiorari in the Supreme Court, the court lacks

jurisdiction to enter a stay). And because this Court is without jurisdiction to

consider Halprin’s successive petition, he is not entitled to a stay of these

proceedings to allow for exhaustion of a claim on which he necessarily cannot

obtain relief in this Court. 1 See Neville v. Dretke, 423 F.3d 474, 479–80 (5th

Cir. 2005) (“Moreover, even if a petitioner had good cause for [failing to exhaust

his claims first in state court], the district court would abuse its discretion if it

were to grant him a stay when his unexhausted claims are plainly meritless.”)

(quoting Rhines, 544 U.S. at 1535).




1       Halprin asserts that his petition is non-successive because it alleges a “defect”
that “did not arise . . . until after the conclusion of the previous petition.” DE 61 at 13
(citing Leal Garcia v. Quarterman, 573 F.3d 214, 222 (5th Cir. 2009)). As discussed
at length in the Director’s Motion to Dismiss, such a reading of § 2244(b) is contrary
to its plain text. Moreover, the type of “defects” referenced in Leal Garcia were defects
that did not exist regarding the underlying conviction—i.e., a claim of incompetence
to be executed or a challenge to the calculation of a petitioner’s sentence. 573 F.3d at
222. A claim—like Halprin’s—that challenged the underlying conviction is, however,
squarely within § 2244(b)(2)(B).

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      Halprin argues this Court should stay its proceedings because he is

currently unable to file in state court a subsequent state habeas application

raising his judicial bias claim. DE 61 at 7–8. He argues that Texas’s “two-

forums rule” prevents him from filing a state habeas application because his

petition for a writ of certiorari (in his initial federal habeas proceeding) is

pending and because his successive petition is pending. DE 61 at 7–8. But the

now-modified two-forums rule permits the Texas Court of Criminal Appeals

(CCA) to consider “the merits of a subsequent writ . . . if the federal court

having jurisdiction over a parallel writ enters an order staying all of its

proceedings for the applicant to return to the appropriate Texas court to

exhaust his state remedies.” Ex parte Soffar, 143 S.W.3d 804, 807 (Tex. Crim.

App. 2004). As discussed in the Director’s Motion to Dismiss, this Court is

without jurisdiction over Halprin’s successive petition. And because the Fifth

Circuit has issued mandate in Halprin’s initial federal habeas proceedings,

there is no jurisdictional overlap between the federal and state courts. 2 See


2      The cases cited by Halprin are not to the contrary. DE 61 at 8 n.5. In none of
the cases does it appear that the petitioner had filed a successive federal habeas
petition or the pendency of the initial federal habeas proceedings post-mandate
prompted the CCA to conclude it was without jurisdiction to concurrently consider a
subsequent state habeas application. Ex parte Acker, 2014 WL 2002200, at *1 (Tex.
Crim. App. 2014); Ex parte Pondexter, 2008 WL 748393, at *1 (Tex. Crim. App. 2008).

      The CCA routinely considers and rules on subsequent habeas applications
where certiorari petitions from initial federal proceedings are pending, especially
during last-minute litigation in the days and weeks before an execution. This is
because a petition for certiorari does not invoke the jurisdiction of any federal court.

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Teague, 151 F.3d at 291. Consequently, this Court should deny Halprin’s

Motion.

II.     Halprin’s Claim Is Unexhausted and Procedurally Defaulted.

        In his successive petition, Halprin raises a claim alleging that his trial

judge, Vickers Cunningham, harbored racist and religiously-bigoted views. DE

58. The claim is unexhausted and would be procedurally barred if raised in a

subsequent state habeas application. Tex. Code Crim. Proc. 11.071 § 5.

Consequently, he is not entitled to a stay of this Court’s proceedings. See

Neville, 423 F.3d at 480. Notably, another member of the Texas Seven—Joseph

Garcia—recently raised a judicial-bias claim in a subsequent state habeas

application alleging that Cunningham’s racist and bigoted views deprived him

of his right to due process. Ex parte Garcia, No. 64,582-03, 2018 WL 6379949,

at *1 (Tex. Crim. App. Nov. 30, 2018). The CCA dismissed Garcia’s application

“without reviewing the merits of the claims.” Id. Therefore, Halprin cannot

show an entitlement to a stay. Neville, 423 F.3d at 480.

III.    The Effect of a Stay of This Court’s Proceedings Would Likely Be
        Delay.

        Halprin requests that this Court stay its proceedings and direct him to

file a subsequent state habeas application within twenty days of the Supreme




Certainly, the Supreme Court’s granting of certiorari would confer jurisdiction, but
such is extremely unlikely in most cases.

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Court’s ruling on his petition for a writ of certiorari regarding his initial federal

habeas proceedings. DE 61 at 16. His petition for a writ of certiorari is

currently due to be filed by June 12, 2019. Halprin v. Davis, No. 18A1032. The

petition will almost surely not be resolved before the Supreme Court’s current

session ends. The Court’s next session begins in October. The State has moved

to set Halprin’s execution for October 8, 2019. A stay of this Court’s proceedings

to await the Supreme Court’s resolution of Halprin’s certiorari petition would

leave little time remaining before October 8, 2019, to file a subsequent state

habeas application and for that application to be resolved. While the timeline

Halprin proposes may not have been suggested for the purpose of delay, its

impact would now almost certainly create such delay. Consequently, this Court

should deny Halprin’s motion for a stay and dismiss his successive petition.

                                 CONCLUSION

      For the foregoing reasons, the Director respectfully requests that the

Court deny Halprin’s motion for a stay.

                                       Respectfully submitted,

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                       CERTIFICATE OF SERVICE

      I do hereby certify that on June 12, 2019, I electronically filed the
foregoing pleading with the Clerk of the Court for the U.S. District Court,
Southern District of Texas, using the electronic case-filing system of the Court.
The electronic case-filing system sent a “Notice of Filing” to the following
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